                                                                                                   FILED
                                                                                             CHARLOTTE, NC

                         IN THE LINITED STATES DISTRICT COURT                                  JAN 2 s 20tB
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION                                   .WESTERN
                                                                                          US DISTRICT COUFT
                                                                                                   DISTR|CT u, :
                                  DOCKET NO.: 3: I TCRl 64-RJC

UNITED STATES OF AMERICA,
                                                                  CONSENT ORDER AND
        V.                                                      JUDGMENT OF FORFEITURE
                                                                  PENDING RULE 32.2(c)(2)
(5) BUDDY MARTIN


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property   listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
Iegal interest in the property, IT IS HEREBY ORDERED THAT:

        1.      The following property is forfeited to the United States pursuant to 21 U.S.C. $ 853
and/or 28 U.S.C. $ 2461(c), provided, however, that forfeiture of specific assets is subject to any
and all third party petitions under 21 U.S.C. $ 853(n), pending final adjudication herein:

        Approximately $13,661 in United States currency seized during the investigation on
        June 5, 2017 at Garrison Road in Charlotte, NC.

        2.      The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.     If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4.      Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5.      Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.       As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.




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          The parties stipulate and agree that the aforementioned asset(s) constitute property derived
 from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
 facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to I 8
 U.S.C. $ 924(d),21 U.S.C $ 853 and/or 28 U.S.C. 52461(c). The Defendant hereby waives the
 requirements of Fed. R. Crim. P.32.2 and 43(a) regarding notice of the forfeiture in the charging
 instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment against Defendant. If the Defendant has previously submitted a claim in response to an
 administrative forfeiture proceeding regarding any of this property, Defendant hereby withdraws
 that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
 right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
 consents to destruction by federal, state, or local law enforcement authorities upon such legal
 process as they, in their sole discretion deem to legally sufficient, and waives any and all right to
 further notice ofsuch process or such destruction.

R. ANDREW MURRAY




                  ESQ.
    stant United States Attorney



                                                              ERIC A. BACH, ESQ.
                                                              Attorney for Defendant
Signed this   the:d:*        of January, 2018.




                                                 I]NITED STATES MAotsTeAT e                  JUDGE




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